              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLI

 IN THE MATTER OF THE
                                             Case No. 1:22MJ150
 SEARCH OF INFORMATION
 ASSOCIATED WITH ONE
 GOOGLE EMAIL ADDRESS

                                   ORDER

      The United States has submitted a motion requesting that the search

warrant, application, and return filed in this case be sealed to protect an

ongoing investigation and that the case caption be modified.

      The Court determines that there is reason to believe that public access

to the warrant documents will seriously jeopardize the investigation or unduly

delay a trial, including giving targets an opportunity to avoid prosecution,

destroy or tamper with evidence, or change patterns of behavior.

      The Court has inherent authority to order the sealing of a warrant and

affidavit. Baltimore Sun Co. v. Goetz, 886 F.2d 60, 64 (4th Cir. 1989). On the

showing before the court, the court considers that the government has made a

prima facie showing that justifies sealing the search warrant materials and

modifying the case caption.




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        Therefore, IT IS HEREBY ORDERED that the search warrant,

application, and return shall be placed under seal by the clerk and the case

caption shall be modified as reflected above and in the government's motion to

seal.


                                   L. PATRICK AULD
                                   United States Magistrate Judge
Date




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